       Case 17-50849     Doc 49    Filed 03/02/18 Entered 03/02/18 14:00:40           Desc Main
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Carolle Bruno-Hall                                            Clerk
5506 Constant Spring Terrace                                  U.S.bankruptcy Court
Lauderhill, Florida 33319                                     116 N. Main Street Rm. 223
                                                              Harrisonburg Virginia 22802

                                February 26,20L8

                                        IN/RE:
                                  Bill Douglas Golden
                                   Chapter 7,
                                Case No. L7-50849
                         lDocKET ENTRTES NOS. 39 AND 401
                          NOTICE OF DISMISSAL BY DEBTOR

      PLEASE TAKE NOTE that this is my FORMAL OBJECTION ro the requesr of Dismissal
      By Debtor: Bill Douglas Golden. In reference to the above mentioned case.




                                                 Respectfully submitted

                                                 Carolle Bruno-Hall




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GH.                                                                   U                COURT



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